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AO 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT COURT
                                                            for the                                            FILED
                                                   Eastern District of California                              Jan 28, 2025
                                                                                                           CLERK, U.S. DISTRICT COURT
                                                                                                         EASTERN DISTRICT OF CALIFORNIA
                   United States of America                      )
                              v.                                 )
                                                                 )      Case No.
                                                                 )                        2:25-mj-0018 AC
                   MAURICE COLLINS,                              )
                                                                 )

                            Defendant(s)


                                              CRIMINAL COMPLAINT
        I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                January 28, 2025              in the county of          Sacramento                in the
     Eastern         District of           California         , the defendant(s) violated:
               Code Section                                                 Offense Description
         18 U.S.C. § 922(g)(1)                                        Felon in possession of a firearm




         This criminal complaint is based on these facts:
          See attached Affidavit
           ☒ Continued on the attached sheet.

                                                                                          /s/ Thomas Wiebold
                                                                                         Complainant’s signature

                                                                               Thomas Wiebold, DEA Special Agent
                                                                                          Printed name and title

Sworn to me and signed via telephone.

Date:    January 28, 2025
                                                                                           Judge’s signature

City and state:         Sacramento, California                                   Allison Claire, U.S. Magistrate Judge
                                                                                        Printed name and title
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    AFFIDAVIT OF DEA SPECIAL AGENT THOMAS WIEBOLD IN SUPPORT OF
                        CRIMINAL COMPLAINT
       I, Thomas Wiebold, being first duly sworn, hereby depose and state as follows:

                 I.        INTRODUCTION AND AGENT BACKGROUND
       1.      I make this affidavit in support of an arrest warrant and Criminal Complaint

charging Maurice COLLINS with felon in possession of a firearm, in violation of 18 U.S.C. §

922(g)(1), on January 28, 2025, in Sacramento County, California.

       2.      I am a Special Agent (“SA”) with the Drug Enforcement Administration (“DEA”)

and have been since April 2022. I am an investigative or law enforcement officer of the United

States within the meaning of 18 U.S.C. § 2510(7), in that I am an officer of the United States

empowered by law to conduct criminal investigations and make arrests for offenses enumerated

in 18 U.S.C. § 2516.

       3.      I am a graduate of the seventeen-week DEA Basic Agent Training Academy in

Quantico, Virginia. This training included instruction in the investigation of illicit drug

trafficking, including, but not limited to, investigating criminal violations of 21 U.S.C. §§ 841

and 846 and 18 U.S.C. § 922(g)(1). I have received comprehensive, formalized instruction in

drug identification, detection, and interdiction, financial investigations and money laundering,

informant handling, law classes, report writing, seizure and forfeiture of drug-related assets,

undercover operations, and electronic and physical surveillance procedures. In furtherance of

my training as a Special Agent, I have also received specialized instruction in cyber/dark net

investigations, financial investigations, illicit hazardous environments/drug manufacturing

laboratories, high-risk warrant service, Title III wire intercepts, license plate recognition

technology, informant management, drug cartel culture, narcoterrorism, cryptocurrency, and cell

phone digital evidence. My post-academy education in drug investigations totals over 290 hours

of specialized training.

       4.      The facts and information set forth herein are based upon my personal knowledge

and observations, observations of other law enforcement personnel, observations of cooperating




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individuals as related to me and other law enforcement personnel, my review of investigative

reports, and discussions with other federal, state, and local law enforcement officials. Where I

describe statements made by other people (including other agents and law enforcement officers),

the statements are described in sum, substance, and relevant part. Similarly, where I describe

information contained in reports and other documents or records in this affidavit, this

information is also described in sum, substance, and relevant part. This affidavit is intended to

show only that there is sufficient probable cause for the requested Complaint and does not set

forth all of my knowledge about this matter.

                                 II.      PROBABLE CAUSE

       5.      From November 2023 to present, the Sacramento DEA, in partnership with the

Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”), has been investigating Kevin

PARKER, John PARKER, Veronica BROOKS, Xavier SURITA, Devon NELSON, Raymundo

ESCOBAR, Marcelino ESCOBAR, and others for distributing controlled substances and

firearms in the Eastern District of California; as charged in 2:25-MJ-00016-CKD and 2:25-CR-

00015-TLN.

       6.      During the investigation, law enforcement identified 3078 MLK Jr. Blvd.,

Sacramento, CA as a stash house where Maurice COLLINS lived. Law enforcement completed

multiple controlled purchases of methamphetamine and firearms from K. PARKER and his

associates at or near 3078 MLK Jr. Blvd. during the investigation.

       7.      Sacramento Municipal Utilities District (“SMUD”) records show that the utilities

at 3078 MLK Jr. Blvd. are in the name of “Maurice Collins.” Further, a Sacramento County law

enforcement database known as WebKPF shows that COLLINS resides at 3078 MLK Jr. Blvd.

and has since approximately May 2021. WebKPF records also show that COLLINS is a

validated Oak Park Bloods gang member.

       8.      On January 28, 2025, law enforcement executed a federal search warrant at 3078

MLK Jr. Blvd. Inside, law enforcement officers identified and detained Maurice COLLINS.

Law enforcement further identified that COLLINS was the occupant of a bedroom within the



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residence by locating mail and documents addressed to COLLINS, prescription pill bottles

prescribed to COLLINS, and COLLINS’s cell phone laying on the bed. I confirmed COLLINS’s

cell phone by calling the number (916) 533-7619, which I know SMUD has listed as

COLLINS’s phone number for 3078 MLK Jr. Blvd. I also know that this phone number has

been in contact with Kevin PARKER. Law enforcement further located suspected crack cocaine

inside a shoe, as well as a loaded Taurus PT111 Millenium G2 with serial number TKY12438

underneath the mattress of COLLINS’s bed.

       9.      Based on finding the suspected drugs and firearm, I arrested COLLINS for

violating 18 U.S.C. § 922(g)(1). Sacramento Police Department subsequently transported

COLLINS to Sacramento County Jail. DEA agents field tested the suspected crack cocaine,

which tested positive for the presence of cocaine.

       10.     ATF Special Agent Payton Smith, who is trained as an ATF interstate nexus

expert, reviewed photos of the firearm and, based on his training and experience, believes that

the firearm was manufactured outside of the state of California. Further, I saw the firearm and

observed that it says, “Made in Brazil.”

       11.     I am aware that COLLINS has previously been convicted of the following felony

offenses that are punishable by more than one year in prison:

               a)     Concealed carry weapon: crim. street gang, in violation of Cal. Penal Code

       § 12025(b)(3), on or about May 8, 2009, in Sacramento County, California;

               b)     Poss. of narc/controlled substance, in violation of Cal. Health & Safety

       Code § 11350(A), on or about April 11, 2012, in Sacramento County, California;

               c)     Felon in possession of a firearm, in violation of Cal. Penal Code

       § 29800(a)(1), on or about February 2, 2017, in Sacramento County, California.

               d)     Evade peace officer: disregard safety, in violation of Cal. Vehicle Code

       § 2800.2(A), on or about September 30, 2018, in Sacramento County, California.

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              III.     CONCLUSION AND AUTHORIZATION REQUEST

       12.     Based on the foregoing, I respectfully request this Court issue an arrest warrant

and Criminal Complaint charging COLLINS with one count of felon in possession of a firearm,

in violation of 18 U.S.C. § 922(g)(1).



                                                 Respectfully submitted,

                                                   /s/ Thomas Wiebold
                                                 Thomas Wiebold
                                                 Special Agent
                                                 Drug Enforcement Administration




 Subscribed and sworn to me telephonically on: January 28, 2025



 HON. ALLISON CLAIRE
 UNITED STATES MAGISTRATE JUDGE




 /s/ Emily G. Sauvageau
 Approved as to form by AUSA EMILY G. SAUVAGEAU




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